  Case 3:01-cv-01304-SRU         Document 63-2       Filed 07/09/2004     Page 1 of 3




                          UNITED STATES DISTRICT COURT

                             DISTRICT OF CONNECTICUT


DR. KUBA O. ASSEGAI              :                   NO.: 3:01CV1304 (SRU)
                                 :
v.                               :
                                 :
BLOOMFIELD BOARD OF EDUCATION; :
PAUL COPES, INDIVIDUALLY AND IN  :
HIS OFFICIAL CAPACITY; ERIC      :
COLEMAN, INDIVIDUALLY AND IN HIS :
OFFICIAL CAPACITY; TOWN OF       :
BLOOMFIELD POLICE DEPARTMENT; :
POLICE CHIEF RICHARD MULLHALL,   :
INDIVIDUALLY AND IN HIS OFFICIAL :
CAPACITY; CINDY LLOYD,           :
INDIVIDUALLY AND IN HER OFFICIAL :
CAPACITY                         :                   JULY 7, 2004

                      VERIFICATION OF JOHN J. RADSHAW, III

         The undersigned, being duly sworn, hereby deposes and says:

         1.    I am over eighteen (18) years of age and I believe in the obligation of an

oath;

         2.    I am a member of the Bar of the State of Connecticut and of the District

Court.

         3.    In addition to David S. Monastersky, I represented the defendants,

Bloomfield Board of Education and Paul Copes, in the above-captioned case and have




                                       Page 1 of 2
   Case 3:01-cv-01304-SRU         Document 63-2        Filed 07/09/2004      Page 2 of 3




knowledge of the facts of the case and the costs incurred by the Bloomfield Board of

Education and Paul Copes in defending this case; and

       4.     The costs of the deposition transcript of Dr. Assegai on March 3, 2003,

by a representative of Falzarano Court Reporters, was charged at the rate of $5.25 per

page due to the deposition being videotaped. The regular rate is $4.00 per page. A

true and accurate copy of the invoice is annexed as attachment 1 to this verification.

The total bill for Falzarano Court Reporters therefore at the regular rate is $867.00.

       5.     The appearance fee, including taxes, for Falzarano Court Reporters on

March 3, 2003, is $85.00 plus $5.10 taxes for a total of $90.10.

       6.     The costs of the deposition transcript of Dr. Assegai on March 5, 2003,

by a representative of Niziankiewicz & Miller, was charged at the rate of $3.50 per

page. A true and accurate copy of the invoices annexed as attachment 2 to this

verification. The total bill for Niziankiewicz & Miller therefore at the regular rate is

$981.03.

       7.     The appearance fee for Niziankiewicz & Miller on March 5, 2003, is

$75.00 plus $4.50 taxes for a total of $79.50.

       8.     The photocopying charges for the pleadings and exhibits associated with

the motion for summary judgment of $3.80 (38 pages x $.10 per page) were

completed in-house. Howd & Ludorf charges copies at the rate of $.10 per copy.




                                        Page 2 of 2
  Case 3:01-cv-01304-SRU        Document 63-2       Filed 07/09/2004      Page 3 of 3




      9.     The items in the defendants’ Bill of Costs are correct and have been

necessarily incurred in this case and the services for which fees have been charged

were actually and necessarily performed.

      Dated at Hartford, Connecticut, this 7th day of July, 2004.


                                                /s/John J. Radshaw, III
                                                John J. Radshaw, III




STATE OF CONNECTICUT )
                     ) ss: Hartford
COUNTY OF HARTFORD )


      Subscribed and sworn to before me this 7th day of July, 2004.



                                               /s/Elvira C. Blackman
                                               Elvira C. Blackman
                                               Notary Public
                                               My Commission Expire; 10/31/07




                                      Page 2 of 2
